                                                      U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, New York 10007


                                                      March 17, 2025

By ECF
Hon. Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     Khalil v. Joyce, 25-cv-1935 (JMF)

Dear Judge Furman:

        This Office represents the government in this case. We write respectfully, with the consent
of Petitioner’s counsel, to request that the Court grant the government leave nunc pro tunc to file
an oversized reply brief in further support of its motion to dismiss or transfer. Your Honor’s
individual rules set the limitations for such briefs at 3,500 words, and the government’s reply brief
is approximately 900 words over that limit (at 4,395 words). We apologize for exceeding the
Court’s word limit, and for this belated request.

       We thank the Court for its consideration of this request.

                                                    Respectfully submitted,

                                                    MATTHEW PODOLSKY
                                                    Acting United States Attorney for the
                                                    Southern District of New York

                                            By:       /s/ Brandon M. Waterman
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cc: Counsel of Record (by ECF)
